652 F.2d 195
    209 U.S.App.D.C. 202
    Chart, Inc.v.U. S.
    80-1138, 80-1339
    UNITED STATES COURT OF APPEALS District of Columbia Circuit
    3/6/81
    D.C.D.C., 491 F.Supp. 10
    
      1
      REVERSED*
    
    
      
        *
         The following cases have been decided under Local Rule 13(c) without opinion.  An asterisk identifies those cases where the judgment or order is accompanied by a Memorandum explanatory of the judgment.  Such Memorandum is not included with the opinions of the Court that are printed, and it may not be cited in briefs or memoranda of counsel as precedents, under Local Rule 8(b).  However, as Rule 8(b) makes clear, the reasons set forth in the Court's Memorandum may be referred to for purposes of doctrines such as res judicata, collateral estoppel, and law of the case, which turn on the binding effect of the judgment, and not on its status as precedent for other cases
      
    
    